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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 SHAY HORSE, et al.,

                     Plaintiffs,

 v.                                               Civil Action No. 17-1216 (ABJ)

 DISTRICT OF COLUMBIA, et al.,

                    Defendants.


                              JOINT STATUS REPORT

      Pursuant to the Court’s October 14, 2020 Minute Order, the Parties submit

this Joint Status Report.

      The Parties have agreed upon terms to settle this case. The Parties firmly

believe they will be able to finalize this settlement and have the settlement

agreement signed by all parties within six weeks.

      They therefore jointly request that the Court extend the stay of this case until

January 25, 2021, while they finalize their settlement. Fed. R. Civ. P. 6(b)(1)(A). Once

the settlement is final, the Parties will promptly inform the Court.

      No other existing deadline will be affected by this additional time.
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Dated: December 14, 2020.                     Respectfully submitted,

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       Admitted to practice only in the State of New York. Practicing in the District
of Columbia under the direct supervision of Fernando Amarillas, a member of the
D.C. Bar, pursuant to LCvR 83.2(f).
